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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE
                                       THE SOUTHERN DISTRICT OF GEA
                                            STATESBORO DIVISION



              JAM IL AL-AM IN,

                                   Plaintiff,

                    V.                                                CIVIL ACTION NO.: CV607-026

              HUGH SMITH,

                                   Defendant.


                                                      ORDER



                    After an independent and de novo review of the entire record, the undersigned

              concurs with the Magistrate Judge's Report and Recommendation. Plaintiff filed

              Objections to the Magistrate Judge's Report and Recommendation, and Defendant filed

              a Response. In his Objections, Plaintiff states that Defendant's Supplemental Motion

              was filed approximately a year after the expiration of the dispositive motions deadline

              and relies on evidence which was available before this deadline. Plaintiff also states

              that this Motion essentially is a motion for reconsideration of this Court's Order denying

              summary judgment on the only claim remaining in this cause of action, and the motion

              does not meet the rigorous standards for reconsideration. Plaintiff further states that the

              Magistrate Judge's reliance on "the key factual ruling"—that Plaintiff's visitation properly

              was canceled due to a peaceful protest of his incarceration—ignores the fact that this



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              visitation previously had been approved and the cancellation "reflects retaliation." (Doc.

              No. 113, p. 2). Plaintiff asserts that the evidence related to Defendant's purported

              security concerns does not compel the conclusion that Defendant did not act out of

              retaliation; rather, Plaintiff contends, this evidence presents a jury issue as to whether

              the termination of this visitation was retaliatory or justified for non-retaliatory reasons.

                     Defendant alleges that this Court did not abuse its discretion in permitting him to

              file a Supplemental Motion for Summary Judgment, as he showed excusable neglect to

              permit this late filing. Defendant also alleges that he did not address Plaintiffs

              November 2005 visitation-retaliation claim previously because Plaintiff failed to

              specifically identify Luqman Abdullah as the person whose visitation was denied.

              Defendant avers that his Supplemental Motion was the proper procedural pleading to

              address the remaining claim in this case, as it was not addressed in his original Motion

              for Summary Judgment. Finally, Defendant asserts that there is no evidence that he

              retaliated against Plaintiff by terminating his visitation in November 2005, and, even if

              there were evidence of retaliation, Defendant would have denied this visitation even in

              the absence of an improper motive.

                     Plaintiff has offered no evidence to sustain his burden of establishing the

              existence of a genuine issue of material fact which would allow a jury to determine

              whether Defendant retaliated against Plaintiff by denying visitation with Luqman

              Abdullah on November 24, 2005, or if Defendant's actions were proper in so doing. The

              Report and Recommendation of the Magistrate Judge is adopted as the opinion of the

              Court. Defendant's Supplemental Motion for Summary Judgment is GRANTED and




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              Plaintiffs Complaint is DISMISSED. The Clerk of Court is directed to enter the

              appropriate judgment of dismissal.

                    SO ORDERED, this e24' day 'Of___________________

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                                                   UNITED STATES DISTRICTRT
                                                   SOUTHERN DISTRICT OF E0URGIA'




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